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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 AIR PRODUCTS AND CHEMICALS, INC.
 and AIR PRODUCTS MANUFACTURING
 LLC,

                Plaintiffs,                       Case No. 1:24-cv-01182-JLH

        v.

 JOHN CARTER RISLEY

                Defendant.

               STIPULATION REGARDING RESPONSE TO COMPLAINT

       This stipulation (the “Stipulation”) is entered into between plaintiffs Air Products and

Chemicals, Inc. and Air Products Manufacturing LLC (“Plaintiffs”) and defendant John Carter

Risley (“Defendant,” and together with Plaintiffs, the “Parties”), by and through their respective

undersigned counsel.

                                           RECITALS

       WHEREAS, on October 22, 2024, Plaintiffs filed their complaint (the “Complaint”)

against Defendant;

       WHEREAS, on October 23, 2024, Plaintiffs sent Defendant a Waiver of the Service of

Summons, and on October 25, 2024, Defendant, who resides outside of the United States, executed

the Waiver of the Service of Summons, making Defendant’s response to the Complaint due on or

before January 21, 2025;

       WHEREAS, counsel for Plaintiffs and counsel for Defendant have conferred regarding an

extension of time for Defendant to answer, move, or otherwise respond to the Complaint;

       IT IS HEREBY STIPULATED AND AGREED, and, subject to the approval of the Court,

ORDERED THAT:
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       1.     Defendant shall answer, move, or otherwise respond to the Complaint on or before

April 21, 2025.


 /s/ Sarah R. Martin                              /s/ Ryan P. Newell
 Paul J. Lockwood (ID No. 3369)                   Elena C. Norman (ID No. 4780)
 Sarah R. Martin (ID No. 5230)                    Ryan P. Newell (ID No. 4744)
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 Attorneys for Plaintiffs Air Products and
 Chemicals, Inc. and Air Products                 Attorneys for Defendant John Carter Risley
 Manufacturing LLC


 DATED: November 20, 2024

       IT IS SO ORDERED THIS _______ DAY OF ______________, 2024.

                                                      __________________________________
                                                          JUDGE JENNIFER L. HALL




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